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                                                                                      CASREF,CLOSED
                    United States District Court
              District of Massachusetts (Worcester)
  CRIMINAL DOCKET FOR CASE #: 4:12−cr−40034−FDS All Defendants

Case title: USA v. Sanborn                                     Date Filed: 05/15/2012
Other court case number: 08cr128−01 USDC, New Hampshire        Date Terminated: 05/15/2012


Assigned to: Judge F. Dennis Saylor, IV
Referred to: Magistrate Judge David H.
Hennessy

Defendant (1)
Kurt Sanborn
TERMINATED: 05/15/2012

Pending Counts                            Disposition
                                          The defendant is hereby sentenced to a term of 30 months
                                          imprisonment, upon release from imprisonment the defendant
18:1343 WIRE FRAUD                        shall be placed on supervised release for a term of 3 years. The
(1)                                       defendant will pay a $100.00 Special Assessment, the
                                          defendant will pay Restitution in the amount of $303,410.79,
                                          Fine waived.

Highest Offense Level (Opening)
Felony

Terminated Counts                         Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                Disposition
None



Plaintiff
USA

 Date Filed       #    Page Docket Text
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                      Probation/Supervised Release transfer order received from New Hampshire as
                      to Kurt Sanborn. (Jones, Sherry) (Entered: 05/15/2012)
05/17/2012   2     4 Judge F. Dennis Saylor, IV: ORDER entered. as to Kurt Sanborn re 1
                     Probation/Supervised Release Transfer Order received. (Jones, Sherry)
                     (Entered: 05/17/2012)
05/31/2012   3     5 TRANSFER OF JURISDICTION as to Kurt Sanborn. Received certified
                     copies of indictment, judgment and docket sheet from New Hampshire.
                     (Attachments: # 1 docket sheet from USDC, New Hampshire, # 2
                     Information, # 3 judgment)(Jones, Sherry) (Entered: 05/31/2012)
04/25/2013   6    23 ELECTRONIC NOTICE of Case Assignment as to Kurt Sanborn; Judge F.
                     Dennis Saylor, IV assigned to case. (Abaid, Kimberly) (Entered: 04/25/2013)
06/21/2013   8        SENTENCING MEMORANDUM by USA as to Kurt Sanborn (Bloom, Sara)
                      DISREGARD THIS ENTRY − FILED IN WRONG CASE (Cicolini, Pietro).
                      (Entered: 06/21/2013)
11/14/2013   10   24 Judge F. Dennis Saylor, IV: ORDER entered as to Kurt Sanborn re 9
                     Pretrial/Probation Request. MODIFICATION OF CONDITIONS
                     ORDERED. (Cicolini, Pietro) (Entered: 11/14/2013)
01/23/2014   12   26 Judge F. Dennis Saylor, IV: ORDER entered as to Kurt Sanborn re 11 Pretrial
                     Services/Probation Memo. Payment schedule APPROVED. (Cicolini, Pietro)
                     (Entered: 01/23/2014)
03/03/2014   14   27 Judge F. Dennis Saylor, IV: ORDER entered as to Kurt Sanborn re 13
                     Pretrial/Probation Request. Modification of Conditions Ordered. (Cicolini,
                     Pietro) (Entered: 03/03/2014)
06/11/2014   15       Petition for Warrant from Probation as to Kurt Sanborn. (Affsa, Gina)
                      (Entered: 06/11/2014)
06/11/2014   16       Judge F. Dennis Saylor, IV: ORDER entered as to Kurt Sanborn re 15
                      Pretrial/Probation Petition for Warrant or Summons. ISSUANCE OF
                      WARRANT ORDERED. (Cicolini, Pietro) (Entered: 06/11/2014)
06/11/2014   17   29 Arrest Warrant Issued by Judge F. Dennis Saylor, IV as to Kurt Sanborn.
                     (Cicolini, Pietro) (Entered: 06/11/2014)
06/11/2014   18       Judge F. Dennis Saylor, IV: ELECTRONIC ORDER entered as to Kurt
                      Sanborn. Order Referring Case to Magistrate Judge David H. Hennessy for
                      initial appearance on arrest, appointment of counsel, and initial revocation
                      hearing. (Cicolini, Pietro) (Entered: 06/11/2014)
06/26/2014   19       Memorandum requesting Transfer of Jurisdiction back to the District of New
                      Hampshire and Dismissial of Violation from US Probation and Pretrial
                      Services as to Kurt Sanborn. (Attachments: # 1 Proposed Transfer of
                      Jurisdiction Order) (Affsa, Gina) (Entered: 06/26/2014)
07/22/2014   21   30 Probation Jurisdiction Transferred to District of New Hampshire as to Kurt
                     Sanborn. Transmitted Transfer of Jurisdiction form, with certified copies of
                     indictment, judgment and docket sheet. (Cicolini, Pietro) (Entered:
                     07/22/2014)


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MIME−Version:1.0
From:ECFnotice@mad.uscourts.gov
To:CourtCopy@localhost.localdomain
Bcc:
−−Case Participants: Judge F. Dennis Saylor, IV (pietro_cicolini@mad.uscourts.gov)
−−Non Case Participants: ad hoc (sandra_burgos@mad.uscourts.gov)
−−No Notice Sent:

Message−Id:4881717@mad.uscourts.gov
Subject:Activity in Case 4:12−cr−40034−FDS USA v. Sanborn Case Assigned/Reassigned
Content−Type: text/html

                                      United States District Court

                                       District of Massachusetts

Notice of Electronic Filing


The following transaction was entered on 4/25/2013 at 9:49 AM EDT and filed on 4/25/2013

Case Name:       USA v. Sanborn
Case Number:     4:12−cr−40034−FDS
Filer:
Document Number: 6(No document attached)
Docket Text:
 ELECTRONIC NOTICE of Case Assignment as to Kurt Sanborn; Judge F. Dennis Saylor, IV
assigned to case. (Abaid, Kimberly)


4:12−cr−40034−FDS−1 Notice has been electronically mailed to:

4:12−cr−40034−FDS−1 Notice will not be electronically mailed to:




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Probl2B
(7193)


                                          United States District Court
                                          for the District of Massachusetts

                          Request for Modifying the Conditions or Term of Supervision
                                         with Consent of the Offender
                                            (Probation Form 49, Waiver of Hearing is Attached)




  Name of Offender: Kurt Sanborn                                                                 Case Number: 12CR40034
  Name of Sentencing Judicial Officer: The Honorable Paul Barbadoro, U.S. District Judge, District of New
  Hampshire

  Date of Original Sentence: November 19, 2009

  Transfer of Jurisdiction: May 16,2012: to The Honorable F. Dennis Saylor, IV, U.S. District Judge

  Original Offense: Wire Fraud

  Original Sentence: 30 months of custody; followed by 3 years of supervised release

  Type of Supervision: Supervised Release                             Date Supervision Commenced: April 26, 2012



                                           PETITIONING THE COURT

[]        To extend the term of supervision for years, for a total term of years
[X]       To modify the conditions of supervision as follows:

The defendant shall participate in a program of mental health treatment, as directed by the probation officer,
until such time as the defendant is released from the program by the probation officer. The defendant shall
pay for the cost of treatment to the extent he is able as determined by the probation officer.

The defendant is to serve four (4) months in home detention with location monitoring and shall pay the daily
rate. The defendant is responsible for returning the monitoring equipment in good condition and may be
charged for replacement or repair of the equipment.

                                                              CAUSE

On November 06,2013, an Administrative Hearing was held before Supervising USPO Alicia Howarth. Present
were Mr. Sanborn and USPO Michael Forman. The purpose of the hearing was to address several violations
committed by Mr. Sanborn; specifically, failure to submit monthly restitution payments since June 2013, lying to
probation with regard to the submission of restitution payments and lying to probation about his salary.

With respect to the submission of restitution payments, on October 30,2013, USPO Forman spoke to Mr. Sanborn
via the telephone to address outstanding restitution payments for July, August, September and October. Mr.
Sanborn stated that he had made the restitution payments for July, August and September and further stated that
he could provide documentation of same. On November 5, 2013, USPO Forman met with Mr. Sanborn at his
residence. Mr. Sanborn again reported that he had mailed in the restitution payments but was unable to provide
documentation that the payments were in fact submitted to the Court. During the Administrative Hearing that was



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                                                     -2-                               Request for Modifying the
                                                                              Conditions or Terms of Supervision
                                                                                    with Consent of the Offender




subsequently held on November 6, 20 13, Mr. Sanborn admitted that he lied about sending in the missing restitution
payments.

With respect to his salary, the probation office received information from Mr. Sanborn's employer that in October
2013, he received a pay increase from $70,000 a year to $120,000 a year. Additionally, in October 2013, Mr.
Sanborn received a $20,000 bonus from his employer. Mr. Sanborn failed to report this information to probation.
When USPO Forman questioned Mr. Sanborn about his salary Mr. Sanborn lied and reported that his salary was
only increased to $80,000 a year. Mr. Sanborn subsequently admitted to lying to USPO Forman and stated that
he was going to wait a few weeks before reporting the change in salary to avoid having his monthly restitution
increased. It is noted that Mr. Sanborn owes approximately $300,000 in restitution.

During the Administrative Hearing which was held on November 6, 2013, Mr. Sanborn requested to be provided
with mental health treatment in order to address his history oflying and admitted that lying has been a problem for
him for some time. Mr. Sanborn agreed to the above noted modifications as evidenced by the signed waiver of
hearing.




Reviewed/Approved by:                                               Respectfully submitted,

/s/ Alicia Howarth                                           By     /s/ Michael D. Forman
Alicia Howarth                                                      Michael D. Forman
Supervising U.S. Probation Officer                                  U.S. Probation Officer
                                                                    Date: November 13,2013

THE COURT ORDERS
[]           No Action
[]           The Extension of Supervision as Noted Above
r::::r       The Modification of Conditions as Noted Above
[]           Other

                                                                    Signature of Judicial Officer


                                                                       ///0/3
                                                                    Date




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MEMORANDUM

To:            The Honorable F. Dennis Saylor, IV, U.S. District Judge

From:          Michael D. Forman, U.S. Probation Officer

Re:            SANBORN, Kurt        Docket No.4: 12-CR-40034

Date:          January 17,2014


This Memorandum serves as notification of a fine/restitution payment schedule agreed upon by the
above U.S. Probation Officer and probationer/supervised releasee.

It is the responsibility of the Supervising U.S. Probation Officer to notify the Court of an agreed
upon payment schedule, thus making a reasonable payment schedule set by the Court. The schedule
is based upon the defendant's ability to pay at the time the schedule is formulated. Periodic reviews
ofthe defendant's financial situation will be made in order to determine whether the schedule should
be changed. In the event any changes are made, the Court will be so advised.

The defendant was ordered to pay:
 D    Fine          $                            D    Special Assessment       $ (PAID)
                    ----------                                               ---.,..;._-:._--­
 .[   Restitution   $ 303,410.79                 []   Other                    $
                                                                             --------
Recently, the Probation Department conducted an analysis ofMr. Sanborn's financial status in
accordance with Monograph 114. As a result, we have increased his monthly payment
installments to $ \, 744.50, effective January 2014.

If Your Honor concurs with this payment schedule, please advise by signing below.


Reviewed and Approved:

 lsi Alicia Howarth - - - - - -
Alicia Howarth                                        F. DENNIS SAYLOR, IV
Supervising U.S. Probation Officer                    U.S. District Judge




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Probl2B
(7/93)

                                          United States District Court
                                          for the District of Massachusetts

                          Request for Modifying the Conditions or Term of Supervision
                                         with Consent of the Offender
                                            (Probation Form 49, Waiver of Hearing is Attached)




 Name of Offender: Kurt Sanborn                                                                  Case Number: 12CR40034
 Name of Sentencing Judicial Officer: The Honorable Paul Barbadoro, U.S. District Judge, District of New
 Hampshire

 Date of Original Sentence: November 19,2009

 Transfer of Jurisdiction: May 16,2012: to The Honorable F. Dennis Saylor, IV, U.S. District Judge
 Original Offense: Wire Fraud
 Original Sentence: 30 months of custody; followed by 3 years of supervised release
 Type of Supervision: Supervised Release                              Date Supervision Commenced: April 26, 2012



                                           PETITIONING THE COURT

[]        To extend the term of supervision for years, for a total term of years
[X]       To modify the conditions of supervision as follows:

The defendant is to serve an additional 30 days on Location Monitoring.

                                                             CAUSE

Your Honor, may recall that the probation office filed a Request for Modifying the Conditions or Term of
Supervision with Consent of the Offender to modify Mr. Sanborn's conditions to include 4 months of home
detention with location monitoring and participation in mental health treatment. The request was filed on November
13,2013, which Your Honor subsequently approved. On November 26,2013, Mr. Sanborn was successfully
activated on home detention with location monitoring. In December 2013, Mr. Sanborn began attending mental
health counseling at South Bay Mental Health.

Mr. Sanborn had been residing in Dracut, MA and commuting to Rhode Island which is where the majority of his
employment activities occurred. As a result, Mr. Sanborn was provided with a location monitoring schedule which
allowed him out of his residence from 6:00 a.m. until 8:00 p.m. for employment purposes only. In spite of this
liberal home detention schedule, Mr. Sanborn continued to return home well after 8:00 p.m. As an explanation,
Mr. Sanborn usually reported that he was late due to meeting with a client, heavy traffic conditions, running out
of gas or receiving a flat tire. All of these incidents were not able to be verified by either Mr. Sanborn or his
employer. On February 25,2014, Mr. Sanborn was allowed to transfer his period of home detention with location
monitoring to an apartment located in Attleboro, MA to be closer to his employment which would reduce his
commute with the hope that it would improve his compliance with home detention. On that same day, Mr. Sanborn
was one hour and forty minutes late returning home. The monitoring software recorded Mr. Sanborn as returning



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                                                                               Conditions or Terms of Supervision
                                                                                     with Consent of the Offender




home at 9:40 p.m. At 9:40 p.m. the probation office contacted Mr. Sanborn via his cellular phone which went
straight to voice message indicating that the phone was turned off. The probation office also called Mr. Sanborn
on his home land line which he did not answer.

On February 26, 2014, an Administrative Hearing was held fore Supervising USPO Alicia Howarth. Present were
Mr. Sanborn and USPO Michael Forman. The purpose of the hearing was to address the several incidents of
noncompliant behavior by Mr. Sanborn that are detailed above. When questioned about his whereabouts the
previous night on February 25, 2014, when he returned home at 9:40 p.m., Mr. Sanborn stated that he returned
home at approximately 7:00 p.m. Mr. Sanborn further stated that his cellular phone was turned off due to the
battery being drained and that the land line to his residence must have had the ringer turned off as he reported that
he did not hear his phone ring.

Due to the pattern of continued noncompliant behavior exhibited by Mr. Sanborn, the probation office respectfully
recommends that his period of home detention with location monitoring be extended by 30 days. Mr. Sanborn
agreed to the above noted modification as evidenced by the signed waiver of hearing.

It is noted that Mr. Sanborn currently earns a salary in the amount of$120,000 a year which enables him to submit
monthly restitution in the amount of $1,744. The concern ofjeopardizing Mr. Sanborn's employment or earning
potential factored greatly into the probation office's decision in not recommending a more severe sanction.




Reviewed/Approved by:                                                Respectfully submitted,

/s/ Alicia Howarth                                            By     /s/ Michael D. Forman
Alicia Howarth                                                       Michael D. Forman
Supervising U.S. Probation Officer                                   U.S. Probation Officer
                                                                     Date: February 28,2014

THE COURT ORDERS
[]   No Action
[]   The Extension of Supervision as Noted Above
ksf  The Modification of Conditions as Noted Above
[]   Other

                                                                     Signature of Judicial Officer




                                                                     Date




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AO 442 (Rev. 11/11) Arrest Warrant



                                                      UNITED STATES DISTRICT COlTRT
                                                                   for the

                                                                 District of Massachusetts

                  United States of America
                             v.                                      )
                                                                     )           Case No.                4: 12-CR-40034-FDS-l
                                                                     )
                                                                     )
                                                                     )
                       KURT SANBORN
                      -- -    - - - -- -   - - ----
                                                                     )
                                Defendant


                                                             ARREST WARRANT
To:      Any authorized law enforcement officer


         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)             Kurt Sanborn
who is accused of an offense or violation based on the following document filed with the court:

D Indictment        D Superseding Indictment    D Information D Sup erseding Information D                                            Complaint
D Probation Violation Petition   ~ Supervis ed Release Violation Pe tition D Violation Notice D                                       Order ofthe Court

This offense is briefly described as follows:
Violations of conditions of supervised release




Date:         06/11/2014



City and state:      USDc::__ ~o~ton,M~                      _                     _         fi~ro   Cicolini - C::.s>.I.lr:tIoom D~P't1"ty~j~rk _ _
                                                                                                         Printed name and title


                                                                  Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)


Date:
                                                                                                      Arresting officer's signature



                                                                         ---.-------.---.~   - -----PrTnlecTname and title----­

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